Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.1 Page 1 of 14




 1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
   WYNTER L. DEAGLE, Cal. Bar No. 296501
 2 12275 El Camino Real, Suite 100
   San Diego, California 92130-4092
 3 Telephone: 858.720.8900
   Facsimile: 858.509.3691
 4 E mail:     wdeagle@sheppardmullin.com
 5
     Attorneys for Dr. Mahendra Amin, M.D.
 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11 DR. MAHENDRA AMIN, M.D.,                    Case No. '21CV1635 L   BGS
12
           Plaintiff,                          COMPLAINT FOR DEFAMATION
13
        v.                                     DEMAND FOR JURY TRIAL
14
15 DON WINSLOW,
16                     Defendant.
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                                             -1-                             Case No.
     SMRH:4827-1848-1147.2                                 COMPLAINT FOR DEFAMATION
 Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.2 Page 2 of 14




 1            Plaintiff Dr. Mahendra Amin, M.D. hereby states his complaint for
 2 defamation against Defendant Don Winslow as follows:
 3                                         INTRODUCTION
 4            1.       Dr. Amin has practiced medicine for over 35 years and for the vast
 5 majority of his career, he has provided care to underserved communities. Dr. Amin
 6 regularly treats uninsured patients and until last year was the sole OB/GYN
 7 physician in his home county in a rural, southern area of Georgia.
 8            2.       In addition to treating patients at a local health clinic on a voluntary
 9 basis and providing care at area jails where other physicians are scarce, until last
10 year, he provided gynecological medical services to patients detained at the Irwin
11 County Detention Center (“ICDC”).
12            3.       On September 20, 2020, Don Winslow (a New York Times bestselling
13 author) who, upon information and belief, has never met Dr. Amin, used his widely
14 followed Twitter account to publish to the world false and defamatory accusations
15 against Dr. Amin, shouting to the world that Dr. Amin was a “BUTCHER” and
16 engaged in a “HORRIFIC CRIME” of “forced sterilization” when he “performed
17 illegal hysterectomies on women at the direction of Trump and @DHSgov.”
18            4.       The gist of Mr. Winslow’s tweet falsely accuses Dr. Amin of being an
19 abusive, unethical, and dishonest physician who was part of a sterilization campaign
20 on immigrant women detained at the ICDC.
21            5.       The statements and insinuations leveled toward Dr. Amin were
22 reckless, vile, and devoid of any decency or concern for Dr. Amin’s reputation and
23 livelihood.
24            6.       Mr. Winslow’s tweet is false and discredited.
25            7.       In fact, Dr. Amin performed only two hysterectomies on patients from
26 the ICDC. Both were medically necessary.
27            8.       In both instances, the patients were informed and consented to the
28 procedures. In both instances, the United States Immigration and Customs

                                                    -2-                                  Case No.
     SMRH:4827-1848-1147.2                                             COMPLAINT FOR DEFAMATION
 Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.3 Page 3 of 14




 1 Enforcement (“ICE”) conducted an independent review of the treatment plans and
 2 approved the procedures.
 3            9.       The false and defamatory statements assassinated Dr. Amin’s character
 4 and damaged his reputation as a physician.
 5                                              PARTIES
 6            10.      Dr. Amin is an individual who resides in Douglas (Coffee County),
 7 Georgia.
 8            11.      Don Winslow is an individual who resides in Julian (San Diego
 9 County), California.
10                                  JURISDICTION AND VENUE
11            12.      Dr. Amin is a citizen of the State of Georgia for purposes of diversity
12 jurisdiction under 28 U.S.C. § 1332.
13            13.      Mr. Winslow is a citizen of California for purposes of diversity
14 jurisdiction under 28 U.S.C. § 1332.
15            14.      This Court has original subject matter jurisdiction of this action
16 pursuant to 28 U.S.C. § 1332 as there exists complete diversity of citizenship
17 between Dr. Amin and Mr. Winslow and the amount in controversy exceeds
18 $75,000, exclusive of interest and costs.
19            15.      Mr. Winslow is subject to the jurisdiction of this Court pursuant to
20 28 U.S.C. § 1332.
21            16.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391.
22                                   FACTUAL BACKGROUND
23                                              Dr. Amin
24            17.      Dr. Amin was born, raised, and completed medical school in India.
25            18.      Dr. Amin grew up very poor, living in homes with dirt floors. But his
26 parents sacrificed to help him through medical school. His parents sold the only
27 land they owned and borrowed money to make sure he could finish his education.
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                                                    -3-                                 Case No.
     SMRH:4827-1848-1147.2                                            COMPLAINT FOR DEFAMATION
 Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.4 Page 4 of 14




 1            19.      Dr. Amin lived up to his parents’ sacrifice, becoming one of only eight
 2 out of 300 medical student hopefuls who could ultimately enroll in medical school
 3 from his district in India.
 4            20.      When he first came to the United States, he worked in a New York City
 5 subway store and sold newspapers in Brooklyn, working 12 hours a day, six days a
 6 week, all while studying for additional medical exams required of foreign students.
 7            21.      He completed his Residency in Gynecology in the United States and
 8 has been licensed to practice medicine in Georgia for over 35 years.
 9            22.      Dr. Amin remembers his humble beginnings and the power of someone
10 sacrificing so that others can have a better future. That is why he has practiced in
11 underserved areas nearly his entire medical career.
12            23.      Over the course of his medical career, on a regular basis, he has worked
13 36-hour shifts, seen over 60 patients in a day, and delivered over 400 babies in a
14 year.
15            24.      He has often worked for free and for many years, he kept regular daily
16 office hours and performed hospital surgeries at night, all to ensure that—as much
17 as he could prevent it—no one who needed care would go without.
18            25.      Dr. Amin regularly treats uninsured patients (some who drive over 100
19 miles to see him) and accepts whatever patients can pay in return.
20            26.      He never turns away a patient for inability to pay.
21            27.      He regularly treated patients in area jails because he knows that if he
22 does not provide treatment, it is likely the patients will go without.
23            28.      Until last year, Dr. Amin was the sole OB/GYN physician in Irwin
24 County, Georgia. At the present time, Dr. Amin is one of only two OB/GYN
25 physicians in Irwin County, Georgia.
26            29.      Many, if not most, of Dr. Amin’s patients fall below the poverty line
27 and are on Medicaid.
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                                                    -4-                                Case No.
     SMRH:4827-1848-1147.2                                           COMPLAINT FOR DEFAMATION
 Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.5 Page 5 of 14




 1            30.      Dr. Amin provides medical care to patients at a local health clinic at
 2 least once per week on a voluntary basis.
 3            31.      Until last year, Dr. Amin provided gynecological medical services to
 4 patients detained at the ICDC.
 5            32.      In the early to mid-1990s, Irwin County Hospital was on the brink of
 6 closing its doors. Dr. Amin put up his own money, hired a management team, and
 7 kept the hospital alive. Indeed, the hospital improved with Dr. Amin’s leadership—
 8 adding more patient rooms and completing several other upgrades.
 9            33.      Dr. Amin has not taken a vacation in over 25 years.
10            34.      On his rare weekends away, he remains “on call” and instructs his
11 nursing staff to call him if any of his patients go into labor so that he can return and
12 deliver the babies and care for their mothers.
13            35.      Dr. Amin loves this country and all it has afforded him, and he is
14 determined to give back.
15            36.      He is devoted to medicine and to providing care to underserved
16 communities.
17                                           Don Winslow
18            37.      Don Winslow is a New York Times bestselling author.
19            38.      Mr. Winslow has written 21 novels, including The Border, The Force,
20 The Kings of Cool, Savages, The Death and Life of Bobby Z, and The Winter of
21 Frankie Machine.
22            39.      At least two of Mr. Winslow’s books have been made into Hollywood
23 movies.
24            40.      Mr. Winslow has maintained a Twitter account at @donwinslow since
25 February of 2011.
26            41.      Mr. Winslow’s Twitter account has over 600,000 followers.
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                                                   -5-                                 Case No.
     SMRH:4827-1848-1147.2                                           COMPLAINT FOR DEFAMATION
 Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.6 Page 6 of 14




 1              September 14, 2020 Letter and Project South’s Media Campaign
 2            42.      On September 14, 2020, Project South, an organization that portrays its
 3 mission as “eliminating poverty and genocide” and “cultivating strong social
 4 movements,” sent a letter to the Department of Homeland Security, the ICE Atlanta
 5 Field Office, and the ICDC (the “Letter”).
 6            43.      The Letter was not part of a complaint filed in any court or submitted
 7 as part of any administrative proceeding.
 8            44.      Dawn Wooten, the alleged source of the information contained in the
 9 Letter, did not seek to be anonymous and did not seek any other protections that
10 could be afforded to true whistleblowers who file formal complaints. Indeed, she
11 sought the limelight, going so far as to solicit funds through a GoFundMe page,
12 which has generated over $100,000 in donations to date.
13            45.      The Letter did not identify Dr. Amin.
14            46.      The Letter contained allegations regarding conditions at the ICDC,
15 mostly relating to COVID-19. The Letter also contained allegations of high rates of
16 hysterectomies at the ICDC.
17            47.      Instead of waiting for an investigation into the allegations, Project
18 South immediately worked to sensationalize the contents of the Letter by sharing it
19 widely with the news media.
20            48.      The news media aired various stories about Dr. Amin beginning on or
21 about September 14, 2020.
22            49.      Only one day after the Letter was sent—and five days before Mr.
23 Winslow’s false and defamatory tweet—it was revealed that (a) allegations of mass
24 hysterectomies were not based on first-hand accounts and were shared in the Letter
25 only for effect, and (b) ICDC and Irwin County Hospital confirmed that Dr. Amin
26 had performed only two hysterectomies on ICDC patients.
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                                                    -6-                                 Case No.
     SMRH:4827-1848-1147.2                                            COMPLAINT FOR DEFAMATION
 Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.7 Page 7 of 14




 1                           Don Winslow’s False and Defamatory Tweet
 2            50.      On September 20, 2020, Don Winslow published the following false
 3 and defamatory tweet to a worldwide audience:
 4                     This is the BUTCHER.
 5                     This man performed illegal hysterectomies on women at the direction
 6                     of Trump and @DHSgov.
 7                     His name is “Dr” Mahendra Amin.
 8                     I don’t understand why this isn’t a much bigger story.
 9                     This is a HORRIFIC CRIME.
10                     This is @DHSgov authorized forced sterilization.
11 (emphasis in original) (referred to hereinafter as “Mr. Winslow’s Tweet” or the
12 “September 20, 2020 tweet”). Below is a screenshot of Mr. Winslow’s Tweet:
13                              .,   Don Winslow O
                                     @donwinslow
14
                             This is the BUTCHER.
15
                             This man performed illegal hysterectomies on women
16                           at the direction of Trump and @DHSgov.

17                           His name is "Dr" Mahendra Amin.

18                           I don't understand why this isn't a much bigger story.

19                           This is a HORRIFIC CRIME.
20
                             This is @DHSgov authorized forced sterilization.
21
22
23
24
25
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27                           1:44 AM · Sep 20, 2020 · Twitter Web App


28                           9,392 Retweets    1,000 Quote Tweets       10K Likes



                                                                  -7-                                 Case No.
     SMRH:4827-1848-1147.2                                                          COMPLAINT FOR DEFAMATION
 Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.8 Page 8 of 14




 1            51.      Mr. Winslow’s Tweet included two pictures of Dr. Amin.
 2            52.      Mr. Winslow’s Tweet generated over 10,000 “likes,” over 9,300
 3 “retweets,” and over 800 individual comments.
 4            53.        Mr. Winslow’s Tweet did not reference or include links to any news
 5 stories or the Letter.
 6            54.      Mr. Winslow’s Tweet accused Dr. Amin of performing mass
 7 hysterectomies that were not medically necessary on ICDC detainees.
 8            55.      Mr. Winslow made his false and defamatory statements without any
 9 investigation into the truth or falsity and in the face of contradictory information
10 already known at the time of his September 20, 2020 tweet.
11            56.      Mr. Winslow never spoke to Dr. Amin about the contents of his
12 September 20, 2020 tweet.
13            57.      Mr. Winslow was not interested in the truth; he was interested in
14 creating buzz and attracting followers so he could sell more books.
15            58.      It is beyond reasonable belief that detainees in an ICE facility, such as
16 ICDC, could undergo surprise hysterectomies without consultation and consent.
17            59.      ICE performs an independent review for all surgical procedures and
18 issues its approval or denial for such procedures.
19            60.      This review process requires an ICDC nurse and an independent
20 physician to review a patient’s medical records and determine if the requested
21 procedure is medically necessary. The process typically takes around two weeks.
22            61.      Dr. Amin has never performed a procedure on an ICDC patient without
23 going through this process.
24            62.      ICE provided such review and approval for both hysterectomies that
25 Dr. Amin performed on ICDC patients.
26            63.      An independent physician review of those procedures confirms that the
27 procedures were medically necessary, and that the procedures were discussed with
28 and consented to by both patients.

                                                    -8-                                 Case No.
     SMRH:4827-1848-1147.2                                            COMPLAINT FOR DEFAMATION
 Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.9 Page 9 of 14




 1            64.      Dr. Amin always obtains informed consent from his patients.
 2            65.      Dr. Amin utilizes interpreters when treating patients who do not speak
 3 or understand English.
 4            66.      When Dr. Amin treated ICDC patients, he was supervised by at least
 5 one other person. This was a matter of protocol.
 6            67.      Dr. Amin has never treated any patient roughly or inappropriately.
 7                                              Damages
 8            68.      Dr. Amin’s personal reputation and his reputation as a physician have
 9 been permanently damaged.
10            69.      Dr. Amin has lost patients at his medical practice as a result of the false
11 and defamatory statements about him in Mr. Winslow’s Tweet.
12            70.      Dr. Amin has lost his ability to provide medical services to the ICDC
13 patients as a result of the false and defamatory statements about him in Mr.
14 Winslow’s Tweet.
15            71.      Further, Dr. Amin has suffered stress, emotional distress,
16 embarrassment, humiliation, anger, and other mental pain and suffering.
17            72.      Dr. Amin has also suffered public hatred, contempt, scorn, and ridicule.
18            73.      Dr. Amin was regularly stalked and otherwise followed by people
19 calling him names.
20            74.      Dr. Amin has been the recipient of multiple vile and hateful telephone
21 calls, in-person comments, social media comments, and mail that no person should
22 have to endure.
23            75.      Dr. Amin received death threats and bomb threats.
24            76.      Dr. Amin was called “inhuman,” “corrupt,” “evil,” and a “monster.”
25            77.      In a direct comment to Mr. Winslow’s Tweet, one commenter referred
26 to Dr. Amin as a “third world assassin.”
27            78.      In a direct comment to Mr. Winslow’s Tweet, one commenter said that
28 Dr. Amin “should be imprisoned.”

                                                    -9-                                 Case No.
     SMRH:4827-1848-1147.2                                            COMPLAINT FOR DEFAMATION
Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.10 Page 10 of 14




 1            79.      In a direct comment to Mr. Winslow’s Tweet, multiple commenters
 2 referred to Dr. Amin as “Dr. Mengele,” the infamous Nazi doctor who performed
 3 medical experiments at the Auschwitz death camps. This is among several
 4 commenters who made Nazi and Holocaust comparisons in response to Mr.
 5 Winslow’s false accusations.
 6            80.      In a direct comment to Mr. Winslow’s Tweet, multiple commenters
 7 invited the world to file complaints against Dr. Amin with the Georgia Composite
 8 Medical Board and included contact information for doing so.
 9            81.      Dr. Amin continues to fear for his safety. He fears that people are
10 following him and talking about him in public.
11            82.      Dr. Amin has also withdrawn from social and community activities he
12 previously enjoyed.
13                           CAUSE OF ACTION FOR DEFAMATION
14            83.      Dr. Amin incorporates by reference paragraphs 1-82 of this Complaint
15 as though the same were set forth herein in their entirety.
16            84.      Mr. Winslow’s September 20, 2020 tweet is false and defamatory.
17            85.      Mr. Winslow’s Tweet was published to third parties and were, in fact,
18 viewed by third parties across the United States and around the world.
19            86.      Mr. Winslow’s Tweet was of and concerning Dr. Amin, because,
20 among other reasons, Mr. Winslow identified Dr. Amin by name and included two
21 pictures of him.
22            87.      Specifically, the statements in Mr. Winslow’s Tweet that Dr. Amin is a
23 (i) “BUTCHER,” (ii) “performed illegal hysterectomies on women at the direction
24 of Trump and @DHSgov,” (iii) engaged in a “HORRIFIC CRIME,” and (iv)
25 engaged in “forced sterilization,” are false and defamatory.
26            88.      Dr. Amin performed only two hysterectomies on ICDC patients. Both
27 were medically necessary.
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                                                  -10-                                Case No.
     SMRH:4827-1848-1147.2                                          COMPLAINT FOR DEFAMATION
Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.11 Page 11 of 14




 1            89.      The gist of Mr. Winslow’s Tweet is false and defamatory per se in
 2 conveying accusations that Dr. Amin is an unethical and dishonest physician with
 3 no regard for the safety and well-being of his patients, and that he actively and
 4 intentionally sought to hurt them.
 5            90.      Mr. Winslow published his September 20, 2020 tweet without
 6 privilege.
 7            91.      Mr. Winslow’s Tweet is defamatory per se and damages as to Dr. Amin
 8 are presumed as a matter of law.
 9            92.      Mr. Winslow’s Tweet is defamatory per se in that it injures Dr. Amin’s
10 professional reputation.
11            93.      Mr. Winslow’s Tweet is defamatory per se in that it accuses Dr. Amin
12 of criminal activity.
13            94.      Mr. Winslow’s Tweet is libelous on its face in that it is defamatory of
14 Dr. Amin without the necessity of explanatory matter or other extrinsic facts, and/or
15 it imputes to Dr. Amin criminal conduct.
16            95.      Evidencing a reckless disregard for truth or falsity, Mr. Winslow
17 knowingly and purposely avoided the truth and ignored evidence establishing the
18 falsity of his September 20, 2020 tweet prior to its publication.
19            96.      Evidencing a reckless disregard for truth or falsity, Mr. Winslow
20 published the September 20, 2020 tweet, which contained statements that were so
21 inherently improbable on their face as to raise serious doubts about their truth.
22            97.      Evidencing a reckless disregard for truth or falsity, Mr. Winslow
23 published the September 20, 2020 tweet, which contained statements that were so
24 outrageous on their face as to raise serious doubts about their truth.
25            98.      Evidencing a reckless disregard for truth or falsity, Mr. Winslow
26 published the September 20, 2020 tweet, which contained statements that
27 contradicted known facts.
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                                                  -11-                                 Case No.
     SMRH:4827-1848-1147.2                                           COMPLAINT FOR DEFAMATION
Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.12 Page 12 of 14




 1            99.      On information and belief, Mr. Winslow had actual knowledge that the
 2 accusations against Dr. Amin were false prior to publication.
 3            100. Mr. Winslow negligently published the September 20, 2020 tweet.
 4            101. On information and belief, Mr. Winslow published the September 20,
 5 2020 tweet with actual malice, that is, with actual knowledge of falsity or a reckless
 6 disregard for truth or falsity.
 7            102. On information and belief, Mr. Winslow published the September 20,
 8 2020 tweet without conducting a reasonable investigation.
 9            103. Mr. Winslow is liable for damages for the September 20, 2020 tweet
10 and for all republications of the September 20, 2020 tweet.
11            104. The September 20, 2020 tweet directly and proximately caused
12 substantial and permanent damage to Dr. Amin.
13            105. Dr. Amin has suffered special damages as a direct and proximate result
14 of Mr. Winslow’s September 20, 2020 tweet.
15            106. Dr. Amin’s personal reputation and his reputation as a physician have
16 been permanently damaged as a direct and proximate result of Mr. Winslow’s
17 September 20, 2020 tweet.
18            107. Dr. Amin has lost business at his medical practice as a direct and
19 proximate result of Mr. Winslow’s September 20, 2020 tweet.
20            108. Dr. Amin has suffered stress, emotional distress, embarrassment,
21 humiliation, anger, and other mental pain and suffering as a direct and proximate
22 result of Mr. Winslow’s September 20, 2020 tweet.
23            109. Dr. Amin has suffered public hatred, contempt, scorn, and ridicule as a
24 direct and proximate result of Mr. Winslow’s September 20, 2020 tweet.
25            110. Dr. Amin has suffered emotional distress as a result of Mr. Winslow’s
26 September 20, 2020 tweet.
27            111. Because Mr. Winslow published his September 20, 2020 tweet with
28 both Constitutional and common law malice, Dr. Amin is entitled to an award of

                                                 -12-                               Case No.
     SMRH:4827-1848-1147.2                                        COMPLAINT FOR DEFAMATION
Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.13 Page 13 of 14




 1 punitive damages to punish Mr. Winslow for his wrongdoing and deter him from
 2 repeating such heinous conduct in the future against others.
 3            112. Mr. Winslow’s conduct was willful and demonstrates that entire want
 4 of care that raises a conscious indifference to consequences.
 5            113. Notwithstanding all the information available, Mr. Winslow refused to
 6 retract or correct his defamatory statements.
 7       WHEREFORE, Dr. Amin demands:
 8            (a) Trial by jury;
 9            (b) That judgment be entered against Mr. Winslow for compensatory damages
10                in an amount not less than Five Million Dollars ($5,000,000.00);
11            (c) That judgment be entered against Mr. Winslow for punitive damages in an
12                amount not less than Ten Million Dollars ($10,000,000.00) to punish and
13                penalize Mr. Winslow and deter him from repeating his unlawful conduct;
14            (d) That all costs of this action be assessed against Mr. Winslow; and
15            (e) That this Court award such other relief as it deems equitable, just, and
16            proper.

17 DATED: September 17, 2021               Respectfully submitted,
18    By:                                 /s/ Wynter L. Deagle
19
                                          SHEPPARD, MULLIN, RICHTER &
20                                        HAMPTON LLP
21                                        12275 El Camino Real, Suite 100
                                          San Diego, California 92130-4092
22                                        (858) 720-8900 (phone)
23                                        (858) 509-3691 (fax)

24                                        Stacey Godfrey Evans
25                                        Georgia Bar No. 298555
                                          sevans@staceyevanslaw.com
26                                        (admission pro hac vice pending)
27                                        Tiffany N. Watkins
                                          Georgia Bar No. 228805
28                                        twatkins@staceyevanslaw.com
                                                 -13-                                Case No.
     SMRH:4827-1848-1147.2                                         COMPLAINT FOR DEFAMATION
Case 3:21-cv-01635-L-BGS Document 1 Filed 09/17/21 PageID.14 Page 14 of 14




 1                                (admission pro hac vice pending)
 2
                                  STACEY EVANS LAW
 3                                4200 Northside Parkway NW
                                  Bldg One; Suite 200
 4
                                  Atlanta, GA 30327
 5                                (770) 779-9602 (phone)
                                  (404) 393-2828 (fax)
 6
 7                                Scott R. Grubman
 8                                Georgia Bar No. 317011
                                  sgrubman@cglawfirm.com
 9                                (admission pro hac vice pending)
10
                                  CHILIVIS GRUBMAN
11                                DALBEY & WARNER LLP
12                                1834 Independence Square
                                  Atlanta, GA 30338
13                                (404) 233-4171 (phone)
14                                (404) 261-2842 (fax)

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                                        -14-                               Case No.
     SMRH:4827-1848-1147.2                               COMPLAINT FOR DEFAMATION
